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                                                 EXHIBIT 1
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                                                                                  TAKE ACTION.                                                                       X


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                                The Drugs Farm Forward Found Hiding In Your
                                Meat
                                April 13th, 2022


                                IIIIBEN
                                ~ GOLDSMITH




                                In 2020, Farm Forward began testing for antibiotic residues in samples of Global Animal
                                Partnership {GAP) Animal Welfare Certified™ meat from Whole Foods Market. Our testing is
                                ongoing, but the early findings are troubling: despite their claims, GAP and Whole Foods have
                                failed to prevent animals treated with drugs from entering their supply chains, raising questions
                                about all of the claims they make about their meat products. Our results were confirmed by the
                                findings of an extensive antibiotic testing program, which revealed that a significant




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                             percentage of GAP-certified, "antibiotic free" cattle came from feedlots where animals tested
                             positive for antibiotics. In this post we offer details about the nature of our testing program, the
                             results of our investigation, and the implications of our findings.


                             BACKGROUND

                             Due to their poor genetic health and the crowded conditions in which they're confined,
                             animals on factory farms are often given drugs in subtherapeutic doses to promote growth and
                             keep them alive in conditions that would otherwise stunt their growth and even kill them.
                             Consumers pay more for products bearing the Animal Welfare Certified™ mark in part
                             because GAP prohibits the use of antibiotics for animals within its program, and for good
                             reason-antibiotics are used to treat sick animals, and sick animals suffer.


                             After serving on GAP's board of directors since its inception, Farm Forward resigned in April
                             2020 because of concerns that the vast majority of meat products certified by GAP still come
                             from factory farms. Because GAP has shown a pattern of catering to the industry by
                             welcoming modified factory farms into its program, we suspected that drugs may be present in
                             the meat it certifies. In 2017, Farm Forward used its position on GAP's board to push for
                             antibiotic testing, but GAP's leadership refused. Because nobody is testing meat to verify
                             claims made by meat producers, the only way to determine whether GAP is living up to its
                             promises was to begin testing products ourselves.


                             In 2020, Farm Forward began purchasing GAP-certified meat from Whole Foods locations in
                             Chicago, Salt Lake City, and San Francisco for testing by Trilogy Analytical Laboratory and
                             Health Research Institute, two state-of-the-art, ISO-accredited testing facilities. Meat samples
                             are frozen immediately after purchase and shipped overnight to the laboratory, where they're
                             stored in lab-grade refrigerators until they can be tested, typically with in days. To ensure
                             samples aren't contaminated, we follow strict operating procedures for our tissue sampling
                             and shipping, and we keep detailed records along the way to guarantee the provenance of
                             each product. Samples are tested using mass spectrometry, the same technique used by the
                             United States Department of Agriculture (USDA) and other food safety agencies. 1


                             RESULTS

                             Our first positive result, for an antibiotic called monensin, came from a sample of ground beef
                             purchased from a Whole Foods store in San Francisco. Monensin, which is in a class of drugs
                             called ionophores, is a feed additive used widely as a growth promoter and prophylactic
                             antibiotic for cattle raised for meat. Because it serves the dual purpose of increasing yield
                             while also preventing illness, monensin is known to offer a return on investment of roughly $20
                             per animal. 2 As a result, meat producers have a tremendous incentive to use drugs like
                             monensin as widely as possible. The product that tested positive was USDA Certified Organic
                             and Animal Welfare Certified™ by GAP-and monensin is prohibited by both certifications.


                             Our testing also discovered residues of two antiparasitic drugs, fenbendazole and clopidol, in
                             multiple products. These and other antiparasitics are used routinely on factory farms, and while
                             they are technically permitted within GAP's Animal Welfare Certified™ program, their
                             widespread use is worrisome.




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                               The term "antibiotic" includes but obscures antiparasitic drugs as a discrete category of
                               medication used within animal agriculture. The overuse of antiparasitics like fenbendazole and
                               clopidol creates drug-resistant parasites in the same way the overuse of antibacterial
                               antibiotics creates drug-resistant bacteria. 3 The products we purchased from Whole Foods that
                               tested positive for fenbendazole and clopidol were not Certified Organic, but the Certified
                               Organic program has a blanket prohibition on synthetic antimicrobial drugs. GAP's Animal
                               Welfare Certified™ program, on the other hand, only prohibits a narrow range of specific
                               drugs, which means producers have a great deal of freedom to administer a variety of
                               medications on farms. As a result, these drugs are often used prophylactically to prevent
                               densely packed animals on factory fa rms from falling ill instead of find ing husbandry solutions
                               to ongoing health and welfare problems. Nearly half (45 percent) of the cattle livers
                               we tested contained traces of these compounds.

                               IMPLICATIONS

                               Without antibiotic and antiparasitic drugs, it would be less profitable to house cattle on
                               feedlots, where they suffer in cramped, filthy conditions while being fed an unnatural d iet that
                               causes them discomfort.4 The stress of life on a feedlot compromises cows' immune systems,
                               making them even more susceptible to diseases that are abundant in crowded environments.5


                               GAP and other welfare certifications prohibit the use of drugs like monensin in part because
                               they recognize that it is inhumane to use medications to address problems caused by the
                               conditions in which animals are raised . The best way to address these issues is through
                               husbandry techniques that have been used for centuries to keep cattle healthy, and by
                               allowing them to spend their lives on pasture .


                               Although GAP and Whole Foods rightly prohibit the use of antibiotics (apart from animals who
                               are diagnosed with an illness) within their supply chains, testing has revealed that they have
                               failed to meet their promises. Unlike Whole Foods, conventional grocery chains like Kroger,
                               Trader Joes, and Walmart do not prohibit the use of drugs within their supply chains, so they
                               are used openly and abundantly. Whole Foods is supposed to be different. If premium retailers
                               like Whole Foods won't take steps to keep these drugs out of products on their shelves, no one
                               will.


                               It's time for GAP and Whole Foods to commit to phase out all factory farm practices for all of
                               the operations they certify and sell, and to do more to promote plant-based alternatives
                               (http://www.defaultveg.o rg) until they can live up to their promises to shoppers. Sign our
                               petition to stop Whole Foods' humanewashing today.




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